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801 Riverside Drive
Reno, NV 89503

(775) 329-7557

Attorney for Defendant

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEVADA

WASTE MANAGEMENT OF NEVADA

\SW`IG\U\-IdONI-l

CASE NO.: 3:18-cv-00539
LRH-WGC

Plaintiff,

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VS.

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INTERNATIONAL BROTHERHOOD OF
TEAMSTERS, LOCAL UNION 533

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Defendant. )
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COMES NOW Defendant International Brotherhood of

Reno, Nevada 89503
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Teamsters, Local Union 533, by and through its undersigned

Michael E. Langton, Esq.
801 Riverside Drive

attorney, and hereby files its Answer to the Complaint filed
November 9, 2018.
INTRODUCTION
l. In response to paragraph l of the Complaint,

Defendant denies the allegations set forth therein with the
exception that the collective bargaining agreement referred to

therein speaks for itself.

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PARTIES, JURISDICTION AND VENUE
2. In response to paragraphs 2 and 3 of the Complaint,
Defendant admits the allegations contained therein.
3. In response to paragraph 4 of the Complaint,
Defendant denies the allegations contained therein.

FACTUAL BACKGROUND

 

4. In response to paragraph 5 of the Complaint,
Defendant admits the allegations contained therein.

5. In response to paragraphs 6, 7, 8, and 9 of the
Complaint, Defendant submits the document speaks for itself.
As to any interpretation of said document stated within said
paragraphs Defendant denies the allegations contained therein.
Waste Management Memorializes Its Meal and Break Guideline

6. In response to paragraph 10 of the Complaint,
Defendant asserts the document speaks for itself.

7. In response to paragraph ll of the Complaint, based
upon information and belief Defendant admits that on July 20,
2018, Plaintiff unilaterally issued “Meal and Break Guidelines
for NCN Collection Truck Drivers.”

8. ln response to paragraph 12 of the Complaint,
Defendant denies that the “Meal and Break Guidelines” are
requirements that the truck drivers must follow when taking
lunch breaks. As to the remaining allegations of said
paragraph, Defendant admits the allegations related to the OBU

device.

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9. ln response to paragraph 13 of the Complaint,
Defendant admits that during a meeting on August 20, 2018,
between representatives of Plaintiff and Defendant a discussion
was held concerning unpaid lunch breaks for Collection Truck
Drivers and that representatives of Plaintiff Waste Management
were not willing to modify the existing collective bargaining
agreement. Except as specifically admitted herein, Defendant
denies the allegations contained within paragraph 13 of the
Complaint,

10. In response to paragraph 14 and 15 of the Complaint,
Defendant admits the allegations contained therein.

11. In response to paragraph 16 of the Complaint,
Defendant submits the document speaks for itself. To the
extend necessary, Defendant denies any interpretative
statements contained therein concerning Article 18, Section 5,
of the collective bargaining agreement.

12. In response to paragraph 17 of the Complaint,
Defendant admits that Plaintiff notified some employees and the
Union that “failure to comply with the [new] Meal and Break
Guidelines would result in discipline, to and including
discharge.” Expect as specifically admitted herein, Defendant
denies the remaining allegations of paragraph 17 of the
Complaint,

13. In response to paragraphs 18, 19, 20, 21, and 22 of
the Complaint, Defendant denies the allegations contained

therein.

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14. In response to paragraphs 23, 24, 25, 26, and 27, of
the Complaint, Defendant denies the allegations contained
therein.

15. ln response to paragraph 28 of the Complaint, based
upon information and belief Defendant admits the allegations
contained therein.

16. In response to paragraph 29 of the Complaint,
Defendant admits that Mr. Watson sent an e-mail to the Reno
Mayor and City Council members on or about October 31, 2018.
As to the remaining allegations, Defendant submits the document
speaks for itself.

17. In response to paragraph 30 of the Complaint,
Defendant admits Mr. Watson sent an e-mail on October 31, 2018,
to the Reno Mayor and City Council members. Except as
specifically admitted herein, Defendant denies the remaining
allegations of said paragraph.

18. In response to paragraphs 31, 32, and 33, of the
Complaint, Defendant submits the document speaks for itself.
Except as specifically admitted herein, Defendant denies the
remaining allegations of said paragraph.

19. ln response to paragraph 34 of the Complaint,
Defendant denies the allegations set forth therein.

20. ln response to paragraphs 35 and 36 of the Complaint,
Defendant is without information sufficient to form an opinion
as to the truth of the matters asserted therein and, on that

basis, denies the allegations contained therein.

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21. In response to paragraph 37 of the Complaint,
Defendant admits that Mr. Keast sent a letter on or about
November 2, 2018, to Mr. Watson. Except as specifically
admitted herein, Defendant submits the documents speak for
itself and denies any interpretative statements concerning said
document.

22. In response to paragraphs 38, 39, 40, 41, and 42 of
the Complaint, Defendant submits the documents referenced
therein speak for themselves. Except as specifically admitted
herein, Defendant denies the allegations contained therein.

23. In response to paragraphs 43 and 44 of the Complaint,
Defendant admits the allegations contained therein.

24. In response to paragraphs 45, 46, 47, 48 and 49 of
the Complaint, Defendant denies the allegations contained
therein.

25. In response to paragraph 50 of the Complaint,
Defendant admits the allegations contained therein.

26. In response to paragraph 51 of the Complaint,
Defendant asserts that it is without information sufficient to
form a truth of the matter asserted therein and, on that basis
denies the allegations contained therein.

27. In response to paragraphs 52, 53, 54, and 55 of the
Complaint, Defendant asserts the documents referenced therein
speak for themselves. Except as specifically admitted herein,

Defendant denies the allegations contained therein.

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28. In response to paragraph 56 of the Complaint,
Defendant admits the allegations contained therein.

29. In response to paragraphs 57, 58, 59, 60, 61, and 62
of the Complaint, Defendant submits the documents speak for
themselves. Except as admitted herein, Defendant denies any
interpretative explanation by Plaintiff contained within said
paragraphs and, accordingly, denies said allegations.

30. In response to paragraph 63 of the Complaint,
Defendant denies the allegations contained therein.

31. In response to paragraphs 64, 65, 66, 67, 68, and 69,
of the Complaint, Defendant is without information sufficient
to form an opinion as to the belief of the matters asserted
therein and, on that basis, denies the allegations contained
therein.

FIRST CAUSE OF ACTION
(Injunctive Relief And Damages)

32. In response to paragraph 70 of the Complaint,
Defendant reasserts its responses given to paragraphs 1 through
69 as if set forth herein in full.

33. In response to paragraphs 71 and 72 of the Complaint,
Defendant admits the allegations contained there.

34. In response to paragraph 73 of the Complaint,
Defendant submits the document speaks for itself.

35. In response to paragraph 74, 75, 76, 77, 78, and 79,

Defendant denies the allegations contained therein.

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FIRST AFFIRMATIVE DEFENSE
.1. Defendant has failed to state a cause of action upon
which relief can be granted.
SECOND AFFIRMATION DEFENSE
2. The court lacks jurisdiction as the issue is properly
in the jurisdiction of the National Labor Relations Board.
THIRD AFFIRMATIVE DEFENSE
3. Plaintiff’s Complaint is barred by the doctrine of
clean hands.
WHEREFORE, Defendant Teamsters Local 533 prays for the
following relief:
1. That the Court dismiss the Complaint in its full with
prejudice; and
2. An award for attorney’s fees and costs incurred in
defense of this action; and
3. For such other and further relief as the Court deems
just in the premises.

DATED this lquay of November, 2018.

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Attorney for Defendant
Teamsters Local 533

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CERTIFICATE OF SERVI CE

 

am an employee of
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Michael E. Langton, Esg., and that on the F? day of November,

Pursuant to NRCP 5(b), I certify that

2018, 1 served a true accurate copy of the foregoing ANSWER as
follows:
Deposited for mailing, first class postage prepaid;
Deposited for mailing, certified/registered;
Personal delivery to office;
Fax Sent Prior to Mailing;
Via E-mail

David B. Dornak, Esq.

Mark J. Ricciardi, Esq.
Fisher & Phillips LLP

300 S. Fourth Street, Suite 1500
Las Vegas NV 89101

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Merri Kirk, Iegal Assistant

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